
*100OPINION.
Marquette:
This proceeding presents a single question of fact: namely, What was the fair market value on April 30, 1917, of the parcel of land situated at the northeast corner of Seventh and Alvarado Streets, Los Angeles, Calif., fronting 172.92 feet on Seventh Street and 95 feet on Alvarado Street? This real estate came to the petitioners, Mary E. Boland, William P. Boland, and Honor B. Adams, by inheritance from their mother, who died on April 30, 1917, and it was sold by them in 1925, together with another parcel of land contiguous thereto which they had subsequently purchased. The petitioners, in computing the profits from the sale, used a fair market value of $172,000 on April 30, 1917, for the said real estate inherited by them. To that amount they added the cost of the additional real estate they had purchased and deducted the total from the selling price. The profit thus determined was reported by the petitioners in their tax returns for 1925 according to their respective interests therein. The respondent, upon audit of the returns, determined that the fair market value of the real estate inherited by the petitioners was $96,182 on April 30, 1917, and he recomputed the profit from the sale on that basis, increased the respective incomes of the petitioners accordingly, and determined the deficiencies in tax that give rise to this action. At the hearing the respondent asked that the Board find that the fair market value of the real estate in question was between $81,000 and $85,000, and that the deficiencies be increased accordingly.
*101The evidence presented herein is voluminous and consists of more than 140 pages of testimony, together with certain exhibits. The ten witnesses who appeared were, with one exception, real estate dealers or real estate appraisers, and all of them testified as to the fair market value of the property involved on April 30, 1917. It would be wholly impracticable to go into detail as to their respective opinions and the facts upon which these opinions were based. It is sufficient to say that while they' were not in entire accord either as to the value of the property or its relative value and importance as compared to other property in the vicinity, we are satisfied that their testimony warrants the conclusion that the fair market value of the property on April 30, 1917, was $154,000, and we so hold.

Decision will be entered under Rule 50.

